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Attorney for Defendant



                        IN THE UNITED STATES DISTRICT COURT

                         DISTRICT OF UTAH, CENTRAL DIVISION



 ALINE FINNEMAN, an individual,                          DEFENDANT’S RESPONSE TO
                                                         PLAINTIFF’S OBJECTION TO
                 Plaintiff,                               DEFENDANT’S OPPOSITION
                                                              MEMORANDUM
    v.
                                                               Case No.: 2:19-cv-00327
 DELTA AIRLINES, INC., a Delaware
 corporation,                                           District Judge Howard C. Nielson, Jr.

                 Defendant.                              Magistrate Judge Cecilia M. Romero


         Pursuant to local rule DUCivR 7-1, Defendant Delta Air Lines, Inc. (“Delta”)

respectfully submits this response to Plaintiff Aline Finneman’s (“Plaintiff”) Objection to

Defendant’s Opposition Memorandum. (Dkt. No. 31.)

         Delta responds that Plaintiff’s Objection is not the proper procedural vehicle for

complaining about an overlength brief. Objections are limited to opposition to evidence
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contained in response or reply memoranda. See DUCivR 7-1(b)(1). Instead, Plaintiff should

have filed a motion to strike the overlength portions of Delta’s brief.

       To the extent that the Court intends to consider Plaintiff’s Objection, Delta opposes

Plaintiff’s Objection for the reasons set forth in Delta’s Motion for Leave to File Overlength

Opposition to the Motion to Amend Scheduling Order or, in the Alternative, Leave to File a

Corrected Brief in Compliance with DUCivR 7-1 (“Motion”). (See Dkt. No. 34.) Delta further

responds that any objection will be mooted if the Court grants Delta’s Motion.

       DATED this 2nd day of March, 2021.

                                              RAY QUINNEY & NEBEKER P.C.


                                               /s/ David B. Dibble
                                              Rick Thaler
                                              David B. Dibble
                                              Jascha K. Clark

                                              Attorneys for Defendant




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 2nd day of March, 2021, I caused a true and correct copy of

the foregoing DEFENDANT’S RESPONSE TO PLAINTIFF’S OBJECTION TO

DEFENDANT’S OPPOSITION MEMORANDUM to be filed with the Clerk of Court using

the Court’s ECF System which sent notice to the following:

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                                                /s/ Doris Van den Akker




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